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   June 23, 2020                                                                          O f c o u nse l
                                                                                             Ro g e r W. K ir by
                                                                                             Alic e Mc I ne r ne y
   VIA ECF

   Honorable Lewis J. Liman
   United States District Judge
   United States Courthouse
   500 Pearl St.
   New York, NY 10007-1312

           Re:      Shak et al. v. JPMorgan Chase & Co., et al., No. 15 Civ. 992 (LJL) [rel. 15 Civ.
                    994, 15 Civ. 995]; Wacker v. JPMorgan Chase & Co., et al., No. 15 Civ. 994 (LJL)
                    [rel. 15 Civ. 992, 15 Civ. 995]; and Grumet v. JPMorgan Chase & Co., et al., No.
                    15 Civ. 995 (LJL) [rel. 15 Civ. 992, 15 Civ. 994]

   Dear Judge Liman:

           We represent Plaintiffs1 in the above-referenced related actions (“Actions”). As per the
   Court’s order on November 5, 2019 (“Order”), see ECF No. 275, the parties and the U.S.
   Department of Justice (“Government”) were directed to apprise the Court in writing no later than
   June 23, 2020 as to their views on the need for a continued stay and the scope of the stay. The
   Order also extended the existing stay of proceedings in these Actions until June 30, 2020. See
   ECF No. 275. Since the Court’s Order, Plaintiffs and Defendants have conducted and are
   continuing confidential mediation discussions regarding a potential resolution of these Actions.
   Consequently, Plaintiffs respectfully take the view that the Court should extend the stay thirty
   days, until Thursday, July 30, 2020 (the parties would likewise apprise the Court of their view on
   the stay a week before, on Thursday, July 23, 2020). During this thirty-day stay, Plaintiffs’
   position on whether the case should proceed may change or be mooted.

           Plaintiffs have consulted with the Government and Defendants,2 which do not oppose
   Plaintiffs’ position, although the view of both is that the Actions should remain stayed pending the
   ongoing criminal proceedings. There have been no other requests for extension and no court
   appearances are currently scheduled. See Individual Rules of Practice, Rule 1.C.

           Plaintiffs appreciate Your Honor’s attention to this matter.




   1
     “Plaintiffs” include Daniel Shak; SHK Diversified, LLC; Thomas Wacker; and Mark Grumet. All docket entries are
   to Shak et al. v. JPMorgan Chase & Co., No. 15 Civ. 00992 (LJL) (S.D.N.Y.).
   2
    “Defendants” include JP Morgan Chase & Co., J.P. Morgan Clearing Corp., J.P. Morgan Securities LLC, and J.P.
   Morgan Futures, Inc. (merged with and into J.P. Morgan Securities LLC).



                                 NEW YORK                       CALIFORNIA
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Hon. Lewis J. Liman
June 23, 2020
                                                     Respectfully submitted,

                                                     /s/ David E. Kovel
                                                     David E. Kovel


                                                     Counsel for Plaintiffs


  cc: All Counsel of Record (by Electronic Filing)




                                NEW YORK                  TEXAS
